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                                                      February 24, 2023

 Clerk of the Court
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201
                                                      Re: Wickapogue 1 LLC et al v. Blue
                                                      Castle (Cayman) Ltd.,
                                                      No. 23-cv-0561
 Dear Sir or Madam,

         Our office represents the plaintiffs, Wickapogue 1 LLC, Nicole Gallagher and Mark
 Gallagher in the above referenced action and represent the same parties as defendants in civil
 action no 22-cv-05422, currently pending before Judge Gary Brown.

         On February 15, 2023, Judge Gonzalez directed the defendant, Blue Castle (Cayman) Ltd
 (“Blue Castle”) to submit a letter to the Clerk of the Court, on or before February 22, 2022,
 explaining why the two cases are related. In their letter, the Defendants maintain that the two
 cases are not related and there will not be a substantial saving of judicial resources if the two
 cases are related. The plaintiffs disagree.

         The action in front of this Court was removed from Suffolk County Supreme Court, and
 is seeking a declaratory judgment, for amongst, other things, a judgment that Blue Castle acted in
 bad faith, breached the implied covenant of good faith and fair dealing, which directly led to the
 sale of the subject property, 145 Wickapogue Rd, Southampton, New York. In fact, while the
 plaintiffs were expecting a UCC sale of the property, they have learnt that defendant Blue Castle
 is the new owner of the subject property.

         In the Complaint removed from Suffolk County Supreme Court, the plaintiffs allege that
 they made the payments toward the mortgage through the maturity date, but the defendant’s
 unfair dealings led to the commencement of the foreclosure action as well the UCC sale. They
 further allege that the defendants not only elected to foreclose based upon their claim of default
 pursuant to the loan agreement but also sought to enforce a Pledge Agreement, which interfered
 with plaintiffs equitable right of redemption. The facts and legal issues of both actions are



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 intertwined and as the parties continue to the discovery schedule and depositions are conducted it
 will be judicially expeditious to consolidate both cases, which plaintiffs agree should be under
 this case pending before Judge Gonzalez.

        I thank the Court for its consideration in this matter.




                                                       Sincerely,
                                                       Gordon & Gordon, P.C.

                                                       /s/Peter S. Gordon, Esq
                                                       Peter S. Gordon, Esq
                                                       Attorney for Defendants

 Cc: All counsel via ECF




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